Case 2:12-cv-08993-MMM-AJW Document 12-1 Filed 01/04/13 Page 1 of 4 Page ID #:106



  1   Maria D. Melendez, (Admitted Pro Hac Vice)
      mmelendez@sidley.com
  2   SIDLEY AUSTIN LLP
      787 Seventh Avenue
  3   New York, NY 10019
      Telephone: (212) 839-5300
  4   Facsimile: (212) 839-5599
  5   Catherine Valerio Barrad, SBN 168897
      cbarrad@sidley.com
  6   SIDLEY AUSTIN LLP
      555 West Fifth Street, Suite 4000
  7   Los Angeles, California 90013
      Telephone: (213) 896-6000
  8   Facsimile: (213) 896-6600
  9   Attorneys for Defendants
      JSC VTB BANK
10
11
12                             UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14    ANZHEY BARANTSEVICH, an                   )   Case No. CV12-8993 MMM (AJWx)
      individual                                )
15                                              )   Assigned to: Judge Margaret M.
                  Plaintiff,                    )   Morrow
16                                              )
      vs.                                       )   DECLARATION OF YURI A.
17                                              )
      VTB BANK, a Russian corporation dba       )   SOLOVIEV
18    VTB BANK ASSET MANAGEMENT                 )
                                                )
19                Defendants.                   )
                                                )
20                                              )
21
22                 DECLARATION OF YURI A. SOLOVIEV
23          I, Yuri A. Soloviev, hold the position of First Deputy President and Chairman
24    of VTB Bank Management Board with JSC VTB Bank (“VTB Bank”). I joined VTB
25    Bank in 2008 as Senior Vice President. I am based in Moscow and perform my duties
26    at one of the principal places of business of VTB Bank, Moscow, Presneskaya nab.,
27    12.
28          1.    I submit this declaration in support of the Motion to Dismiss For Lack of
Case 2:12-cv-08993-MMM-AJW Document 12-1 Filed 01/04/13 Page 2 of 4 Page ID #:107



  1   Personal Jurisdiction, Insufficient Service of Process, and Failure to State a Claim.
  2         2.     VTB Bank is a Russian open joint stock company. It is incorporated and
  3   organized under the laws of Russia. To my knowledge, it does not conduct business
  4   in the United States.
  5         3.     VTB Bank is in the commercial banking industry. Its core business is
  6   lending and other banking services for corporate customers. VTB Bank is the ultimate
  7   parent company to approximately twenty banks and financial companies in over
  8   twenty countries around the world. The VTB group of companies conducts
  9   investment banking activities through CJSC VTB Capital Holding and its subsidiaries.
10    The investment banking companies within the VTB group of companies began
11    operating in 2008.
12          4.     CJSC VTB Capital Holding is wholly-owned by VTB Bank. It holds the
13    stock of its subsidiaries, including CJSC VTB Capital Asset Management (“VTB
14    Capital AM”), a closed joint-stock company organized under the laws of Russia with
15    its principal place of business in Moscow.
16          5.     VTB Capital AM’s core business is in the management of portfolios of
17    venture capital funds. Prior to 2010, VTB Capital AM was known as “VTB Asset
18    Management.”
19          6.     VTB Capital Inc. is indirectly owned by VTB Bank through CJSC VTB
20    Capital Holding.
21          7.     VTB Bank, VTB Capital AM, and VTB Capital Inc are each separate
22    legal entities as each has its own:
23                 a.      board of directors and officers;
24                 b.      corporate books and records;
25                 c.      business facilities and offices; and
26                 d.      financial accounts.
27          8.     To my knowledge, VTB Bank has not and currently does not conduct
28    business in California and has never been registered to do business in the State of

                                                 2
Case 2:12-cv-08993-MMM-AJW Document 12-1 Filed 01/04/13 Page 3 of 4 Page ID #:108



  1   California. It does not:
  2                a.     have offices in the State of California;
  3                b.     have employees in the State of California;
  4                c.     own any real property in the State of California;
  5                d.     have any assets in the State of California;
  6                e.     solicit business in the State of California; or
  7                f.     pay taxes in the State of California
  8         9.     VTB Bank is not involved in the day-to-day operations of its affiliates
  9   and subsidiaries, including VTB Capital AM and VTB Capital Inc.
10          10.    VTB Bank was not involved in the alleged loan made by VTB Capital
11    AM to CJSC Beau Laboratories (Russia) or in the alleged decisions concerning the
12    distribution of the funds associated with the loan. VTB Bank is not and has not been
13    involved in the operations of CJSC Beau Laboratories (Russia) or Beau Laboratories
14    Los Angeles, Inc.
15          11.    To my knowledge, the individuals named in the Complaint that are
16    alleged to be employees and/or representatives of VTB Bank are not the employees or
17    representatives of VTB Bank.
18          12.    VTB Bank has not received service of process in this action from the
19    Ministry of Justice of the Russian Federation in accordance with the Convention on
20    the service abroad of judicial and extrajudicial documents in civil or commercial
21    matters (Hague conference on private international law, Hague, 15.XI.1965).
22          13.    VTB Bank does not maintain an office at VTB Capital Inc.’s location in
23    New York or anywhere else in the United States.
24          14.    VTB Bank has not authorized VTB Capital Inc. to receive service of
25    process on its behalf in connection with any matter including CJSC Beau Laboratories
26    (Russia) and/or the Plaintiff.
27          15.    The Complaint alleges that VTB Bank has done business in the United
28    States as “VTB Bank Asset Management”. This is incorrect. VTB Bank does not

                                                 3
Case 2:12-cv-08993-MMM-AJW Document 12-1 Filed 01/04/13 Page 4 of 4 Page ID #:109
